          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-1
                           Document  268 Page:
                                          Filed 1   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                1 of 43 PageID: 11607



                           UNITED STATES COURT OF APPEALS
                                FOR THE THIRD CIRCUIT
                                   ________________

                                          No. 19-2809
                                       ________________
                 SAM HARGROVE; ANDRE HALL; MARCO EUSEBIO,
                  individually and on behalf of all others similarly situated,
                                                     Appellants

                                                v.

                                        SLEEPY'S LLC

                                                v.

      I STEALTH LLC; EUSEBIO'S TRUCKING CORP.; CURVA TRUCKING LLC
                             ________________

                           Appeal from the United States District Court
                                   for the District of New Jersey
                             (D.C. Civil Action No. 3-10-cv-01138)
                           District Judge: Honorable Peter G. Sheridan
                                        ________________
                                      Argued May 27, 2020

              Before: AMBRO, HARDIMAN, and RESTREPO, Circuit Judges

                                         JUDGMENT

         This cause came on to be heard on the record before the United States District
  Court for the District of New Jersey and was argued on May 27, 2020.
         On consideration whereof, IT IS ORDERED AND ADJUDGED by this Court that
  the judgment of the District Court entered August 1, 2019, is hereby reversed and
  remanded. Costs taxed against Appellee. All of the above in accordance with the
  opinion of this Court.
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-1
                           Document  268 Page:
                                          Filed 2   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                2 of 43 PageID: 11608



                                                  ATTEST:
                                                  s/Patricia S. Dodszuweit
                                                  Clerk
  Dated: September 9, 2020



                        Certified as a true copy and issued in lieu
                        of a formal mandate on October 14, 2020


                       Teste:
                       Clerk, U.S. Court of Appeals for the Third Circuit
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 1   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                3 of 43 PageID: 11609




                                                           PRECEDENTIAL

                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT
                                ________________

                                       No. 19-2809
                                    ________________

                SAM HARGROVE; ANDRE HALL; MARCO EUSEBIO,
                 individually and on behalf of all others similarly situated,
                                                    Appellants

                                             v.

                                      SLEEPY'S LLC

                                             v.

                  I STEALTH LLC; EUSEBIO'S TRUCKING CORP.;
                            CURVA TRUCKING LLC

                                    ________________

                       Appeal from the United States District Court
                               for the District of New Jersey
                         (D.C. Civil Action No. 3-10-cv-01138)
                       District Judge: Honorable Peter G. Sheridan
                                    ________________

                                   Argued May 27, 2020
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 2   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                4 of 43 PageID: 11610




                Before: AMBRO, HARDIMAN, and RESTREPO, Circuit
                                   Judges

                            (Opinion filed September 9, 2020)

               Harold L. Lichten (Argued)
               Benjamin J. Weber
               Lichten & Liss-Riordan
               729 Boylston Street, Suite 2000
               Boston, MA 02116


               Anthony L. Marchetti, Jr.
               317 Delsea Drive
               Sewell, NJ 08080

                     Counsel for Appellants

               Marc Esterow
               Theo E.M. Gould
               Matthew J. Hank (Argued)
               Paul C. Lantis
               Jonathan L. Shaw
               Littler Mendelson
               1601 Cherry Street
               Three Parkway, Suite 1400
               Philadelphia, PA 19102

                     Counsel for Appellee

               Peter Winebrake
               Winebrake & Santillo LLC
               715 Twinning Road




                                              2
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 3   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                5 of 43 PageID: 11611




               Twinning Office Center, Suite 211
               Dresher, PA 19025

                     Counsel for Amicus Appellants
                     The National Employment Law Project and
                     Towards Justice


               Adam G. Unikowsky
               Jenner & Block
               1099 New York Avenue, N.W., Suite 900
               Washington, DC 20001

                     Counsel for Amicus Appellees
                     Chamber of Commerce of the United States of
                     America and New Jersey Civil Justice Institute


                                    ________________

                              OPINION OF THE COURT
                                  ________________

               AMBRO, Circuit Judge

                      We review the District Court’s denial of a renewed
               motion for certification of a proposed class of drivers who
               performed deliveries on a full-time basis using one truck for
               mattress retailer Sleepy’s LLC. The Court held that the class
               was not ascertainable. Hargrove v. Sleepy’s LLC, No. 10-cv-
               01138, 2019 WL 8881823, at *5–7 (D.N.J. May 9, 2019)
               (“Hargrove II”). In addition to all the other requirements for
               class actions in Federal Rule of Civil Procedure 23, our Court




                                             3
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 4   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                6 of 43 PageID: 11612




               requires that a Rule 23(b)(3) class also be “currently and
               readily ascertainable.” Marcus v. BMW of N. Am. LLC, 687
               F.3d 583, 593 (3d Cir. 2012).1 Plaintiffs must show that “(1)
               the class is defined with reference to objective criteria; and (2)
               there is a reliable and administratively feasible mechanism for
               determining whether putative class members fall within the
               class definition.” Byrd v. Aaron’s Inc., 784 F.3d 154, 163 (3d
               Cir. 2015) (internal quotation marks omitted).

                     We reverse the District Court’s order. First, the Court
               should not have treated the renewed motion for class

                      1
                         Every putative class action must satisfy the
               requirements of Rule 23(a) and the requirements of Rule
               23(b)(1), (2), or (3). See Fed. R. Civ. P. 23(a)–(b). To satisfy
               Rule 23(a),

                      (1) the class must be “so numerous that joinder
                      of all members is impracticable” (numerosity);
                      (2) there must be “questions of law or fact
                      common to the class” (commonality); (3) “the
                      claims or defenses of the representative parties”
                      must be “typical of the claims or defenses of the
                      class” (typicality); and (4) the named plaintiffs
                      must “fairly and adequately protect the interests
                      of the class” (adequacy of representation, or
                      simply adequacy).

               In re Cmty. Bank of N. Va., 622 F.3d 275, 291 (3d Cir. 2010)
               (quoting Fed. R. Civ. P. 23). Additionally, Rule 23(b)(3),
               relevant here, “requires that (i) common questions of law or
               fact predominate (predominance), and (ii) the class action is
               the superior method for adjudication (superiority).” Id.




                                               4
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 5   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                7 of 43 PageID: 11613




               certification as a motion for reconsideration. “An order that
               grants or denies class certification may be altered or amended
               before final judgment.” Fed. R. Civ. P. 23(c)(l)(C). Courts
               cannot graft onto that provision the heightened motion-for-
               reconsideration standard requiring that, in addition to
               satisfying the typical Rule 23 criteria, plaintiffs show there was
               a change in controlling law, new evidence, or a clear error. See
               Max’s Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros, 176
               F.3d 669, 677 (3d Cir. 1999). District courts should treat
               renewed motions for class certification as they would initial
               motions under Rule 23. Cf. In re Initial Pub. Offering Sec.
               Litig., 483 F.3d 70, 73 (2d Cir. 2007).

                       Second, the District Court misapplied our
               ascertainability case law. It was too exacting and essentially
               demanded that Appellants identify the class members at the
               certification stage. We have held that a plaintiff need not “be
               able to identify all class members at class certification—
               instead, a plaintiff need only show that ‘class members can be
               identified.’” Byrd, 784 F.3d at 163 (emphasis omitted)
               (quoting Carrera v. Bayer Corp., 727 F.3d 300, 308 n.2 (3d
               Cir. 2013)). Appellants have met that requirement. They
               submitted thousands of pages of contracts, driver rosters,
               security gate logs, and pay statements, as well as testimony
               from a dozen class members stating they were required to work
               exclusively for Sleepy’s full-time. “Affidavits, in combination
               with records or other reliable and administratively feasible
               means, can meet the ascertainability standard.” City Select
               Auto Sales Inc. v. BMW of N. Am. Inc., 867 F.3d 434, 441 (3d
               Cir. 2017).

                     The Court focused on gaps in the records kept and
               produced by Sleepy’s. But where an employer’s lack of




                                               5
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 6   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                8 of 43 PageID: 11614




               records makes it more difficult to ascertain members of an
               otherwise objectively verifiable class, the employees who
               make up that class should not bear the cost of the employer’s
               faulty record keeping. To hold otherwise is in tension with the
               Supreme Court’s decisions in Anderson v. Mt. Clemens Pottery
               Co., and Tyson Foods, Inc. v. Bouaphakeo, which held that
               employees bringing wage claims can meet their burdens of
               proof by “produc[ing] sufficient evidence to show the amount
               and extent of that work as a matter of just and reasonable
               inference.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036,
               1040 (2016) (quoting Anderson v. Mt. Clemens Pottery Co.,
               328 U.S. 680, 687 (1946)). Such inferences are necessary “to
               fill an evidentiary gap created by the employer’s failure to keep
               adequate records.” Id. at 1047. We extend Tyson Foods and
               Mt. Clemens to the ascertainability determination at the class-
               certification stage and hold that where an employer has failed
               to keep records it was required to keep by law, employees can
               prove ascertainability by producing “sufficient evidence” to
               define their proposed class as “a matter of just and reasonable
               inference.” Tyson Foods, 136 S. Ct. at 1046–47 (quoting Mt.
               Clemens, 328 U.S. at 687).

                                    I.       BACKGROUND

                      A.       Factual Background

                               1.        Sleepy’s Delivery Services and the
                                         Proposed Class

                     Sleepy’s was a New York-based mattress retailer.2
               Deliveries were “an integral part of its business,” J.A. 78, and

                      2
                          Mattress Firm acquired Sleepy’s in December 2015.




                                                  6
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 7   Date Filed:
                                                10/14/20 Page 10/14/2020
                                                                9 of 43 PageID: 11615




               so it created a comprehensive delivery process to meet its
               customer needs. Sleepy’s operated a large warehouse in
               Robbinsville, New Jersey, that it used to deliver mattresses. It
               ran 50 to 60 trucks daily, and as many as 85 to 90 each day
               during peak season.

                      Appellants (the three named plaintiffs in this proposed
               class action) are individuals who performed mattress deliveries
               for Sleepy’s. To work for Sleepy’s, they had to sign a
               standardized Independent Driver Agreement (“IDA”). Each
               IDA “required that the deliverers could not perform any other
               business while on duty with Sleepy’s.” J.A. 76. It states that
               drivers are required to “agree that while performing deliveries
               for Sleepy’s [they] will not carry merchandise for any other
               business until [they] have finished the delivery manifest given
               to [them] by Sleepy’s.” J.A. 1030. However, the IDAs also
               state that the relationship was entered on a “non-exclusive
               basis” and that on any day Sleepy’s did not have to request,
               and no carrier had to provide, delivery services for it. Id.
               Sleepy’s enforced these provisions; in at least one instance, it
               penalized a driver because he made a delivery for another
               business while he was delivering Sleepy’s product.

                       Some drivers in the proposed class signed IDAs on their
               own behalf and others signed on behalf of their corporate entity
               or “carrier.” Appellants testified that individual drivers were
               required to form business entities as a condition of their
               employment with Sleepy’s. This was true even if the business
               entity consisted of one driver and one truck. Appellants
               testified that, although there were some drivers who owned or
               operated two or three trucks at a time, most proposed class
               members operated one truck for significant stretches of time.
               Several drivers who operated more than one truck testified that




                                              7
           Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG Document77-2
                                     268 Page: 8    Date Page
                                         Filed 10/14/20  Filed: 10
                                                                10/14/2020
                                                                   of 43 PageID: 11616




               they drove one of their trucks full time, and a relative or an
               associate drove the other.

                     Sleepy’s emphasizes that the IDA did not obligate it to
               pay wages to a carrier’s individual owners or workers. It paid
               each carrier for all the deliveries the carrier performed as a
               whole.3 Sleepy’s also points out that, where carriers were not

                      3
                       One of the key factual disputes in this case is whether
               Sleepy’s had relationships with the drivers individually or with
               the corporate entities with which the drivers were affiliated.
               Sleepy’s points us to evidence that the IDAs were signed on
               behalf of, and payments were made to, the corporate entities.
               The proposed class members counter that they only formed
               those entities as a condition of working for Sleepy’s.

                     Amici—the National Employment Law Project
               (“NELP”) and Toward Justice—support Appellants’ argument
               and posit that the use of LLCs to misclassify employees is a
               widespread public policy problem.

                      [S]ome employers . . . require workers to form limited
                      liability corporations . . . , individual franchises, or other
                      shell businesses to get a job, even where they are clearly
                      employees . . . . [T]he employer contracts with the workers
                      in their capacity as ‘owners’ or ‘partners’ of the shell
                      company in order to avoid liability under labor and
                      employment laws. Companies like the LLC model
                      because there are fewer reporting requirements under tax
                      laws, making it harder to identify independent contractor
                      misclassification.

               Amicus Curiae Br. of NELP 8–9 (footnote omitted).




                                                    8
           Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG Document77-2
                                     268 Page: 9    Date Page
                                         Filed 10/14/20  Filed: 11
                                                                10/14/2020
                                                                   of 43 PageID: 11617




               one-person limited liability companies (“LLCs”), their owners
               did not necessarily drive the truck, and that there were signers
               to IDAs who did not provide delivery services to Sleepy’s on
               a full-time basis.

                       Appellants brought an employee misclassification suit
               and sought certification as a class of Sleepy’s delivery drivers.
               They alleged that Sleepy’s misclassified them as independent
               contractors; because they are actually employees of Sleepy’s,
               it violated the New Jersey Wage Payment Law, N.J. Stat. Ann.
               § 34:11–4.1 et seq., by making deductions from their pay for,
               among other things, damage claims, uniforms, customer
               claims, and other fines. Also, Sleepy’s allegedly violated the
               New Jersey Wage and Hour Law, N.J. Stat. Ann. § 34:11-56a
               et seq., by failing to pay Appellants overtime when they
               worked more than 40 hours in a week.

                             2.      Sleepy’s Records

                       Sleepy’s maintained driver rosters that listed an
               identification code for each driver, how many trucks that driver
               was authorized to drive for it, and whom it authorized to drive
               each truck. The driver identification codes were used by
               Sleepy’s computer software system to design daily delivery
               routes and assign those routes to a specific truck, including the
               approved driver for that truck.

                      Sleepy’s also produced load sheets and manifests for
               each truck that listed the products to be delivered and listed the
               driver of that truck. Drivers had to provide their cell phone
               numbers so that they could be called during delivery. Their
               numbers appeared on the manifests. Sleepy’s assigned each
               driver a two or three letter code (e.g., “5HC” for Henderson




                                               9
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 10    DatePage
                                                10/14/20   Filed:12
                                                                  10/14/2020
                                                                    of 43 PageID: 11618




               Clarke, or “5STT” for Sam Hargrove). J.A. 1123–24. If a
               driver operated more than one truck, Sleepy’s assigned an
               additional number after the letter code. Typical was Plaintiff
               Marco Eusebio, whose driver code was “5ETC.” J.A. 1123.
               At times he operated three trucks for Sleepy’s, and his
               secondary trucks were assigned the codes “5ETC2” and
               “5ETC3.” Id. The driver roster can thus be used to link each
               truck to a particular driver.

                      Sleepy’s also generated in digital form “Outside Carrier
               Expense Detail” reports for each driver. These display the
               driver’s identifier (which is identical to the driver identification
               assigned to the driver on the driver rosters), the number of
               deliveries assigned to the driver each day, the number of
               deliveries completed each day, the amounts paid, and the
               amounts and reason for any deductions from the driver’s pay.

                       Each driver also was required to sign in at a security
               gate when he arrived at the Sleepy’s facility in Robbinsville.
               The gate logs were maintained by the security guard and listed
               the driver’s identification, the time he arrived, his name, and,
               if the driver had a helper, his name.

                      3. Appellants’ Methods for Ascertaining Class
                      Members

                      In seeking class certification, Appellants argued they
               could piece together who the proposed class members were
               from Sleepy’s available records. Appellants’ counsel reviewed
               the driver rosters, pay statements, and gate logs that Sleepy’s
               produced in discovery and concluded that during the applicable
               class period, from 2007 to 2016, approximately 193
               individuals were hired by Sleepy’s to perform deliveries in




                                               10
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 11    DatePage
                                                10/14/20   Filed:13
                                                                  10/14/2020
                                                                    of 43 PageID: 11619




               New Jersey and personally performed deliveries on a full-time
               basis. Of those, 111 individuals operated only one truck for at
               least six months during that period. Twelve of the currently
               proposed class members operated only one truck for at least six
               months for Sleepy’s.

                       Appellants posit that their class can thus be identified
               by lining up the Outside Carrier Expense Detail reports, which
               show the days a driver performed deliveries by their assigned
               identification code, with the gate logs for corresponding dates,
               which show who was the driver for the truck that day. They
               included samples of those documents for six proposed class
               members, packaging their gate logs, driver rosters, and pay
               statements for the same days, which taken together show that
               those drivers performed multiple deliveries for Sleepy’s on
               days they signed in at the gate.

                       For example, Appellants compared the relevant
               documents, specifically the gate logs and the pay statements,
               for named plaintiff Sam Hargrove, with his testimony, to show
               it corroborated that he worked full-time for Sleepy’s,
               performing many deliveries per day, five to six days a week.
               From June 19, 2008 to November 1, 2008, the pay statements
               showed that Hargrove operated one truck for Sleepy’s and was
               paid for deliveries performed on 69 days during that period.
               The gate logs for ten of those days are admittedly missing and
               another driver filled in for Hargrove on two days. Appellants
               posit that this process of lining up documents can be replicated
               for each proposed class member.

                      Sleepy’s counters that there are substantial gaps in the
               record that foreclose class certification. For example, it argues
               that most of the documents on which Appellants rely are from




                                              11
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 12    DatePage
                                                10/14/20   Filed:14
                                                                  10/14/2020
                                                                    of 43 PageID: 11620




               a small window in 2008–2009, and that these documents
               cannot support certification for the proposed class period from
               2007 to 2016. It claims as well that it made a broad range of
               documents available, but that Appellants’ counsel only copied
               a narrow subset. The parties engaged in discovery in 2010 and
               2011. Sleepy’s produced Outside Carrier Expense Detail
               reports for all carriers making deliveries from 2007 to 2010. It
               also provided access to all the gate logs it had. Sleepy’s
               concedes that the gate logs, “if completed properly,” “would
               reflect the date and time an individual entered and departed
               from the Robbinsville facility.” Sleepy’s Br. 8 (citing J.A.
               1000). During a second round of discovery, Sleepy’s produced
               additional data regarding payments and deductions made to
               carriers from 2011 through 2016.

                       Appellants counter that they provided evidence outside
               of the 2008–2009 period. Included was testimony from
               multiple members of the putative class who claim they had to
               sign in on the gate logs every morning during the entire class
               period. Moreover, Sleepy’s has suggested that it had, or was
               trying to obtain, gate logs spanning from 2008 to 2016. As for
               the claim that only a narrow range of documents were copied,
               Appellants posit that, when their counsel went to Sleepy’s
               facility to examine the logs, they were in hard-copy form and
               counsel were not permitted to take the documents out of the
               facility or to stay beyond 6:00 p.m. Nonetheless they were able
               to scan thousands of pages of gate logs that are in evidence.
               The parties dispute the significance of these gaps in the record.
               Whether they foreclose class certification is a question before
               us.




                                              12
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 13    DatePage
                                                10/14/20   Filed:15
                                                                  10/14/2020
                                                                    of 43 PageID: 11621




                     B.     Procedural Background

                            1. Filing of the Class Action and Ruling on the
                            Merits

                      Appellants filed their class action complaint in March
               2010. After preliminary discovery, the District Court granted
               Sleepy’s motion for summary judgment, holding that, under
               then-controlling New Jersey law, the drivers were independent
               contractors and not employees. Appellants appealed to us, and
               in May 2015 we vacated and remanded so that the District
               Court could apply the proper test adopted by the New Jersey
               Supreme Court in response to a certified question from us.
               Hargrove v. Sleepy’s, LLC, 106 A.3d 449 (N.J. 2015).

                       On remand, the parties filed partial cross-motions for
               summary judgment on whether the named plaintiffs were
               employees or independent contractors. The District Court
               granted Appellants’ motion and denied Sleepy’s motion,
               holding that the three named plaintiffs were employees of
               Sleepy’s. Specifically, it held that Sleepy’s exercised
               considerable control over the work of the drivers under the
               IDAs; they performed deliveries within Sleepy’s usual course
               of business; by reporting to and working in the Robbinsville
               facility each morning and performing deliveries on routes
               designed by Sleepy’s, the drivers worked in Sleepy’s places of
               business; and they could not operate independent businesses
               because Sleepy’s required them to work full-time and their
               IDAs barred them from performing deliveries for other
               businesses.

                     Thus the District Court has already held on summary
               judgment that the named plaintiffs—Samuel Hargrove, Andre




                                            13
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 14    DatePage
                                                10/14/20   Filed:16
                                                                  10/14/2020
                                                                    of 43 PageID: 11622




               Hall, and Marco Eusebio—were misclassified as independent
               contractors and instead are employees of Sleepy’s. The issues
               of class certification and damages were not decided.

                             2.      The First Motion to Certify

                       Appellants thereafter filed their first motion for class
               certification for a proposed class of 193 individuals who
               contracted with Sleepy’s and performed deliveries on a full-
               time basis. They argued the class was ascertainable because
               all of the class members signed contracts with Sleepy’s, were
               listed on the driver rosters, were identified on the daily delivery
               manifests, all signed in with a Sleepy’s security guard in a gate
               log each morning, all of the deductions Sleepy’s took from the
               drivers’ pay were listed in their pay statements, and Sleepy’s
               kept track of each driver’s deliveries using scanner data.
               Appellants also produced testimony showing that Sleepy’s
               assigned drivers a full shift of work each day and prohibited
               any driver from making deliveries for other businesses while
               making deliveries for it, so that, as a practical matter, the
               drivers could only work exclusively for Sleepy’s.

                       In February 2018, however, the District Court denied
               Appellants’ motion without prejudice. Hargrove v. Sleepy’s,
               LLC, No. 10-cv-01138, 2018 WL 1092457 (D.N.J. Feb. 28,
               2018) (“Hargrove I”). The Court held that Appellants had not
               demonstrated the ascertainability of the proposed class. In
               assessing whether class membership could be ascertained from
               the driver rosters, pay statements, and gate logs, it noted that
               Sleepy’s “acknowledges those records identify the drivers,” id.
               at *7, yet held that the available documents did not show which
               multiple-truck drivers were working on a full-time basis. The
               Court also noted, notwithstanding Appellants’ emphasis on




                                               14
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 15    DatePage
                                                10/14/20   Filed:17
                                                                  10/14/2020
                                                                    of 43 PageID: 11623




               gate logs, they “[were] not fully completed. Sometimes the
               time a truck entered the facility (time-in) and the time it left the
               facility (time-out) [were] not recorded. As a result, there are
               gaps in listing time-in or time-out of the facility for the trucks
               and the drivers.” Id. Additionally, the Court held that it could
               not ascertain who was a member of the class for the purpose of
               Appellants’ claim for deductions because so many of the
               carriers were LLCs, stating that there “is no way of knowing .
               . . whether any carrier reduced any driver[’]s pay by deducting
               Sleepy’s listed deductions.” Id. at *8. And the Court stated it
               could not ascertain the class members who had overtime claims
               because “there is no way of knowing whether the carrier paid
               drivers overtime.” Id.

                              3.     The Renewed Motion to Certify

                       Appellants filed a renewed motion for certification of a
               class of only the 111 individuals who performed deliveries on
               a full-time basis and who drove one truck for Sleepy’s. Those
               individuals included 73 drivers who ran only one truck for
               Sleepy’s, and an additional 38 drivers who ran one truck for at
               least six months even though they operated more than one
               truck on other occasions.

                       The District Court denied the renewed motion for class
               certification in May 2019. Hargrove II, 2019 WL 8881823.
               First, it construed the motion as a motion for reconsideration.
               Under the standard of review for reconsideration motions, it
               would reconsider its prior denial of class certification only if
               Appellants pointed to “(1) an intervening change in the
               controlling law; (2) the availability of new evidence that was
               not available when the court granted the motion . . . ; or (3) the
               need to correct a clear error of law or fact or to prevent manifest




                                               15
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 16    DatePage
                                                10/14/20   Filed:18
                                                                  10/14/2020
                                                                    of 43 PageID: 11624




               injustice.” Id. at *3. It ruled that Appellants demonstrated
               none of these circumstances. Id.

                       The Court nonetheless engaged in the Rule 23
               certification analysis, and held that the narrower class was still
               not ascertainable because the records kept by Sleepy’s
               regarding the identity of the drivers lacked critical information.
               Id. at *6. Much like its February 2018 ruling in Hargrove I, it
               determined that the driver rosters, pay statements, and gate logs
               failed to show who worked on a full-time basis; thus it was
               “unable to determine if Sleepy’s was the only company the
               drivers worked for.” Id. at *5. Additionally, the Court found
               that the gate logs were not provided for “the full class period,”
               and there was no evidence that those documents existed. Id. at
               *6. Moreover, Appellants could not show “which potential
               class members were subject to improper deductions and which
               potential class members worked over forty hours per week
               without being paid over-time.” Id. And that “while
               determining the amount of deductions may be simple based on
               the [pay statements], the documents still do not allow the Court
               to determine whether the drivers actually suffered a
               deduction.” Id.

                       Appellants thereafter sought leave to appeal the District
               Court’s denial pursuant to Fed. R. Civ. P. 23(f), and we granted
               their request.




                                              16
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 17    DatePage
                                                10/14/20   Filed:19
                                                                  10/14/2020
                                                                    of 43 PageID: 11625




                                     II.    ANALYSIS4

                      A.    Standard Applied to Renewed Motions for
                      Class Certification

                      Appellants argue that the District Court erred in treating
               their renewed motion for class certification as a motion for
               reconsideration, and that it instead should have treated it as an
               independent motion for class certification.5

                     We have not previously decided what standard applies
               when reevaluating an initial denial of a motion for certification.

                      4
                         The District Court had jurisdiction under 28 U.S.C.
               §§ 1331, 1332(a), and 1332(d)(2). We have jurisdiction over
               this interlocutory appeal pursuant to 28 U.S.C. § 1292(e) and
               Federal Rule of Civil Procedure 23(f).
                      5
                        Our dissenting colleague would hold that Appellants
               forfeited the issue of whether the District Court applied the
               wrong standard of review. Dissent. Op. 1. But the cases he
               cites involved arguments and issues that were forfeited because
               they were only raised for the first time in a reply brief, see
               Prometheus Radio Project v. FCC, 824 F.3d 33, 53 (3d Cir.
               2016), or only in footnotes, see John Wyeth & Bro. v. CIGNA
               Int’l Corp., 119 F.3d 1070, 1076 n.6 (3d Cir. 1997). That is
               not what we have here. Appellants raised the argument in their
               opening brief, see Hargrove et al. Br. 11 n.12, and then
               elaborated in detail in their Reply, see Hargrove et al. Reply 8–
               9. And the District Court expressly discussed and ruled on the
               standard-of-review issue. Hargrove, 2019 WL 8881823, at
               *2–3. Cf. Lark v. Sec’y Pa. Dep’t of Corr., 645 F.3d 596, 607
               (3d Cir. 2011) (stating that “the crucial question regarding




                                              17
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 18    DatePage
                                                10/14/20   Filed:20
                                                                  10/14/2020
                                                                    of 43 PageID: 11626




               District courts in our Circuit have applied different standards.
               Some have held that “the best course of action is to treat the
               present [m]otion like any other for class certification, and to
               apply the usual Rule 23 standard.” Carrow v. FedEx Ground
               Package Sys., Inc., No. 16-cv-3026, 2019 WL 7184548, at *4
               (D.N.J. Dec. 26, 2019). Per Rule 23(c)(1)(C), “[a]n order that
               grants or denies class certification may be altered or amended
               before final judgment.” Fed. R. Civ. P. 23(c)(1)(C). In our
               case, the Court required Appellants not only to satisfy the
               requirements of Rule 23, but also to show that (1) there had
               been “an intervening change in controlling law;” (2) “new
               evidence” had become available; or (3) there was “the need to
               correct a clear error of law or to prevent manifest injustice.”
               Max’s Seafood Cafe, 176 F.3d at 677.

                       Sleepy’s cites a case from the Second Circuit and cases
               from district courts in our Circuit as support that courts
               uniformly apply the motion for reconsideration standard, but it
               mischaracterizes the holdings of those cases. The holding of
               In re Initial Public Offering Securities Litigation, 483 F.3d 70


               waiver” is whether the proceedings “put the [d]istrict [c]ourt
               on notice of the legal argument”); see also Bagot v. Ashcroft,
               398 F.3d 252, 256 (3d Cir. 2005) (“This Court has
               discretionary power to address issues that have been waived.”).
               There is no argument here that the parties did not have fair
               notice of this contention, cf. In re: Asbestos Prod. Liab. Litig.
               (No. VI), 873 F.3d 232, 237 (3d Cir. 2017) (declining to
               consider argument raised in a footnote because “it fail[ed] to
               give fair notice of the claims being contested on appeal”), or
               that Sleepy’s did not have an opportunity to respond. Indeed
               it responded to the standard-of-review argument at length.
               Sleepy’s Br. 18–21.




                                              18
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 19    DatePage
                                                10/14/20   Filed:21
                                                                  10/14/2020
                                                                    of 43 PageID: 11627




               (2d Cir. 2007), was that district courts may consider a motion
               to alter or amend a class certification ruling anytime before
               final judgment, id. at 73, and not that those courts should apply
               the motion-for-reconsideration standard. The Second Circuit
               specifically noted that “[n]othing in our decision precludes the
               Petitioners from returning to the District Court to seek
               certification of a more modest class, one as to which the Rule
               23 criteria might be met.” Id.

                      Sleepy’s also cites In re Tropicana Orange Juice
               Marketing & Sales Practices Litigation, No. 11-cv-7382, 2018
               WL 6819331, at *2 (D.N.J. Dec. 28, 2018), but there the Court
               merely stated that district courts have discretion to consider
               renewed motions for class certification and not that the
               reconsideration standard applies; in fact, it applied only the
               Rule 23 analysis without any reference to the reconsideration
               standard. Id. at *2–3.

                       District courts outside our Circuit are also split on this
               issue. Compare Remington v. Newbridge Sec. Corp., No. 13-
               cv-60384, 2014 WL 505153, at *13 (S.D. Fla. Feb. 7, 2014)
               (declining to “construe [plaintiff’s] renewed request for class
               certification as one for reconsideration”), with Torrent v.
               Yakult U.S.A., Inc., No. 15-cv-124, 2016 WL 6039188, at *1
               (C.D. Cal. Mar. 7, 2016) (applying the “stringent law of the
               case standard [for a] motion[] to reconsider” to a renewed
               motion for class certification) (quoting Anderson Living Tr. v.
               WPX Energy Prod., LLC, 308 F.R.D. 410, 438 (D.N.M.
               2015)).      But the courts that apply the motion-for-
               reconsideration standard do so despite the language of Rule
               23(c)(1)(C), which states that “[a]n order that grants or denies
               class certification may be altered or amended before final
               judgment,” their concern being that the parties will be




                                              19
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 20    DatePage
                                                10/14/20   Filed:22
                                                                  10/14/2020
                                                                    of 43 PageID: 11628




               improperly given a “second bite at the apple” by relitigating
               the class-certification issue. See Anderson Living Tr., 308
               F.R.D. at 438.

                       Concern about parties getting a second opportunity,
               however, cannot override the language of Rule 23(c)(1)(C),
               which allows for multiple bites at the apple throughout the
               litigation, and that does not impose an additional requirement
               on parties to prove a change in law or show new evidence to
               succeed on a renewed motion for certification. The Rule does
               not distinguish between a renewed motion for certification
               based on new evidence and one based on a more narrow and
               clearer definition of a class that meets the requirements of Rule
               23. As a practical matter, we know no reason why plaintiffs
               who can cabin more clearly their class, and meet the other Rule
               23 requirements, should be barred from succeeding on a
               renewed motion.

                       Accordingly, we decline to import the stringent motion-
               for-reconsideration standard to a renewed motion for class
               certification under Rule 23(c)(1)(C). “[T]he best course of
               action is to treat [renewed motions] like any other for class
               certification, and to apply the usual Rule 23 standard.”
               Carrow, 2019 WL 7184548, at *4. Plaintiffs can succeed on a
               renewed motion for class certification if they more clearly
               define their proposed class even if there has been no change in
               the law and no new evidence produced.

                      The District Court thus erred by treating Appellants’
               renewed motion for class certification as a motion for
               reconsideration. Its application of that standard was not,
               however, outcome determinative because it still considered the




                                              20
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 21    DatePage
                                                10/14/20   Filed:23
                                                                  10/14/2020
                                                                    of 43 PageID: 11629




               other Rule 23 criteria and found Appellants’ proposed class
               was not ascertainable. We thus proceed to review that ruling.6

                      “We review a class certification order for abuse of
               discretion, which occurs if the district court’s decision rests
               upon a clearly erroneous finding of fact, an errant conclusion
               of law or an improper application of law to fact.” Byrd, 784
               F.3d at 161 (citation and internal quotation marks omitted).
               We review de novo the legal standard applied. Id.

                      B.     Ascertainability

                             1. The Rule 23 Legal Framework

                       As noted, in our Circuit a Rule 23(b)(3) class must also
               be “currently and readily ascertainable based on objective
               criteria.” Marcus, 687 F.3d at 593. The plaintiff has the
               burden of making this showing by a preponderance of the
               evidence, and a district court must “undertake a rigorous
               analysis of the evidence to determine if the standard is met.”
               Carrera, 727 F.3d at 306. However, a plaintiff need not “be
               able to identify all class members at class certification—
               instead, a plaintiff need only show that ‘class members can be


                      6
                       Sleepy’s correctly points out that the only order on
               appeal before us is the District Court’s May 2019 order
               denying Appellants’ renewed motion for certification and that
               Appellants did not seek interlocutory review of the February
               2018 order denying their initial motion. However, in the May
               2019 order, the Court expressly incorporates portions of the
               February 2018 order. See Hargrove II, 2019 WL 8881823, at
               *1. We accordingly also review the cited portions of that order.




                                             21
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 22    DatePage
                                                10/14/20   Filed:24
                                                                  10/14/2020
                                                                    of 43 PageID: 11630




               identified.’” Byrd, 784 F.3d at 163 (emphasis omitted)
               (quoting Carrera, 727 F.3d at 308 n.2).

                       We have analyzed the ascertainability standard in detail
               on several occasions. We first addressed it in Marcus v. BMW
               of North America LLC, in which the plaintiff proposed a class
               of New Jersey purchasers of BMW vehicles equipped with
               “run-flat tires” that had “gone flat and been replaced” during
               the class period. 687 F.3d at 592. This definition presented
               serious ascertainability issues. First, the vehicles were
               manufactured by a foreign subsidiary who was not a party to
               the action, so that defendant did not have access to records of
               which vehicles were equipped with the defective tires. Id. at
               593. Second, dealerships regularly replaced the run-flat tires
               with regular tires, and the plaintiff did not present a method of
               obtaining records from individual dealerships. Id. at 593–94.
               Finally, the plaintiff limited the class to purchasers of BMWs
               whose tires had “gone flat and been replaced” and did not
               propose a method of determining who met this part of the class
               definition. Id. at 594. Because the answer to each of these
               questions was left to “potential class members’ say so,” we
               remanded to the District Court to consider “the critical issue of
               whether the defendants’ records can ascertain class members
               and, if not, whether there is a reliable, administratively feasible
               alternative.” Id.

                       In Hayes v. Wal-Mart Stores, Inc., we considered claims
               brought by a putative class of New Jersey retail discount club
               customers who purchased goods with extended warranties.
               725 F.3d 349, 352 (3d Cir. 2013). The proposed class
               definition included all customers who purchased a “Service
               Plan to cover as-is products,” but it excluded customers whose
               “as-is product was covered by a full manufacturer’s warranty,




                                               22
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 23    DatePage
                                                10/14/20   Filed:25
                                                                  10/14/2020
                                                                    of 43 PageID: 11631




               was a last-one item . . . who obtained service on their product,
               and . . . who have previously been reimbursed for the cost of
               the Service Plan.” Id. at 353. We noted that this class
               definition required separate factual inquiries to determine class
               membership: “(1) whether a Sam’s Club member purchased a
               Service Plan for an as-is item, (2) whether the as-is item was a
               ‘last one’ item or otherwise came with a full manufacturer’s
               warranty, and (3) whether the member nonetheless received
               service on the as-is item or a refund of the cost of the Service
               Plan.” Id. at 356. We remanded so that the plaintiff could
               propose reliable and administratively feasible methods of
               answering these questions without requiring “extensive and
               individualized fact-finding.” Id.

                       In Carrera v. Bayer Corp., the District Court certified a
               class composed of all purchasers of a particular over-the-
               counter diet supplement during several years in Florida. 727
               F.3d at 304. Defendants were the drug manufacturers, and they
               did not have access to any retailer records that could have
               established which customers purchased the drug during the
               pertinent time period. Id. The plaintiff proposed using
               “retailer records of online sales and sales made with store
               loyalty or rewards cards,” combined with affidavits from
               potential class members. Id. But the plaintiff had not sought,
               nor obtained, the proposed records during class discovery. See
               id. at 308–09. We determined that it was inappropriate to
               certify the class without further inquiry into the nature and
               extent of the available records. Id. at 309. In addition, we
               noted that, even if the proposed records did exist, there was no
               evidence that a “single purchaser,” let alone the whole class,
               could be identified using them. Id. We remanded so that the
               plaintiff could conduct additional discovery on whether there




                                              23
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 24    DatePage
                                                10/14/20   Filed:26
                                                                  10/14/2020
                                                                    of 43 PageID: 11632




               was a reliable and administratively feasible means of
               determining class membership. Id. at 312.

                       In Byrd v. Aaron’s Inc., we considered claims brought
               by individuals who leased computers with spyware that was
               installed and activated without their consent. 784 F.3d at 160.
               The class definition included both the lessees and their
               household members. Id. Defendants kept detailed records
               enabling identification of the lessees. Id. at 169. We
               concluded that identification of the household members was
               unlikely to pose “serious administrative burdens that are
               incongruous with the efficiencies expected in a class action.”
               Id. at 170 (quoting Marcus, 687 F.3d at 593). “Any form used
               to indicate a household member’s status in the putative class
               must be reconciled with the 895 known class members or some
               additional public records.” Id. at 171.

                      Most recently, in City Select Auto Sales Inc. v. BMW of
               North America, we vacated and remanded a district court
               ruling that a proposed class of car dealers who received
               unsolicited faxes from a credit agent was not ascertainable
               because a database of the dealers did not list which ones
               actually received the fax. 867 F.3d at 441. We vacated for two
               reasons:

                      First, our ascertainability precedents do not
                      categorically preclude affidavits from potential
                      class members, in combination with the
                      Creditsmarts database, from satisfying the
                      ascertainability standard. Second, because the
                      Creditsmarts database was not produced during
                      discovery, plaintiff was denied the opportunity to
                      demonstrate whether a reliable, administratively




                                             24
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 25    DatePage
                                                10/14/20   Filed:27
                                                                  10/14/2020
                                                                    of 43 PageID: 11633




                      feasible method of ascertaining the class exists
                      based, in whole or in part, on that database.

               Id. at 440–41.        We emphasized that “[a]ffidavits, in
               combination with records or other reliable and administratively
               feasible means, can meet the ascertainability standard,” id. at
               441, and that “[t]he only factual inquiry required to determine
               class membership is whether a particular dealership in the
               database received the BMW fax on one of the dates in
               question,” id. at 442.7


                      7
                        Since Marcus, judges on our Court have warned that
               the overzealous application of the “administratively feasible”
               requirement will defeat the purpose of Rule 23 to protect the
               rights of individuals who may lack the resources to bring
               individual claims. Judge Fuentes has pointed out that other
               Circuits to address ascertainability—including the Second,
               Sixth, Seventh, Eighth, and Ninth Circuits—have rejected it.
               See City Select, 867 F.3d at 443 n.3, 448 (Fuentes, J.,
               concurring); see also Byrd, 784 F.3d 172 (Rendell, J.,
               concurring) (“Our heightened ascertainability requirement . . .
               narrows the availability of class actions in a way that the
               drafters of Rule 23 could not have intended.”). Some have
               warned that applying a heightened ascertainability standard
               could be used to punish plaintiffs where defendants fail to keep
               accurate records. Carrera v. Bayer Corp., No. 12-2621, 2014
               WL 3887938, at *3 (3d Cir. May 2, 2014) (Ambro, J.,
               dissenting from denial of en banc review); Byrd, 784 F.3d at
               173 (Rendell, J., concurring) (accord). See also Briseno v.
               ConAgra Foods, Inc., 844 F.3d 1121, 1125–26 (9th Cir.)
               (holding that class proponents were not required to
               demonstrate that there was an administratively feasible way to




                                             25
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 26    DatePage
                                                10/14/20   Filed:28
                                                                  10/14/2020
                                                                    of 43 PageID: 11634




                             2. The District Court           Misapplied     the
                             Ascertainability Standard

                      The District Court misapplied our ascertainability case
               law. It was too exacting and essentially demanded that
               Appellants identify the class members at the certification stage.
               But all that is required is that Appellants show there is a
               “reliable and administratively feasible mechanism,” Byrd, 784
               F.3d at 163 (quoting Carrera, 727 F.3d at 306), for
               determining class membership.           They have met that
               requirement.

                       Appellants produced evidence that could be used to
               identify which drivers worked for Sleepy’s full time. They
               produced testimony from a dozen potential class members
               stating they were required to work exclusively for Sleepy’s
               full-time. It set delivery routes that ran about 10 hours each
               day. Because of this 10-hour minimum workday, the drivers
               routinely worked more than 40 hours per week. Appellants
               produced evidence that the drivers were wholly reliant on
               Sleepy’s for their income and, as a practical matter, were not
               able to perform deliveries for anyone else.

                       Moreover, pay statements showed that delivery drivers
               completed multiple deliveries each day, five to six days a week,
               and Sleepy’s manifests listed the driver of the truck and how
               many deliveries they were assigned each day. Pay statements
               also listed amounts that were deducted from the driver’s pay,
               including the reason for the deductions.


               determine who was in the class for it to be certified), cert.
               denied, 138 S. Ct. 313 (2017).




                                              26
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 27    DatePage
                                                10/14/20   Filed:29
                                                                  10/14/2020
                                                                    of 43 PageID: 11635




                       Sleepy’s maintained driver rosters listing the names of
               the individuals who contracted with it; who could drive under
               their contracts (including the signee and, if the signee had more
               than one truck, the names of the secondary drivers approved to
               drive the other trucks who are not members of the proposed
               class); and how many trucks the driver operated for Sleepy’s.
               Sleepy’s security gate logs further show who was driving the
               truck through the gate each day. Appellants correlated the logs
               with concurrent pay statements and showed that a driver
               personally performed deliveries for Sleepy’s nearly every day
               his truck was on the road. Appellants thus identified several
               distinct data sets that, taken together with the affidavits,
               establish a “reliable and administratively feasible mechanism”
               for determining class membership. Byrd, 784 F.3d at 163
               (quoting Carrera, 727 F.3d at 306).

                       Compare our case to Marcus, 687 F.3d 583, and
               Carrera, 727 F.3d 300, where we held the proposed classes
               were not ascertainable, respectively, because the entities sued
               were not the ones with the necessary records, and it was not
               clear that any records existed. In both cases we remanded for
               the district court to determine further whether there were any
               records at all. Here we are stacks away from such a dearth of
               documents. Appellants obtained thousands of records from
               Sleepy’s and have explained how they can use them to identify
               individual drivers who worked full-time.

                       We have held that the ascertainability standard was
               satisfied in cases in which plaintiffs submitted far less evidence
               than here. In Byrd, for example, we held that the household
               class members were ascertainable even though no evidence as
               to them had been submitted because we could imagine the




                                              27
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 28    DatePage
                                                10/14/20   Filed:30
                                                                  10/14/2020
                                                                    of 43 PageID: 11636




               types of evidence that could be identified and used to link the
               existing class members to household members. 784 F.3d at
               170–71. Here we need not use our imagination. We know
               there are multiple sets of evidence that can be matched with
               and verified by the putative class members’ affidavits. And
               indeed the District Court used this same set of evidence to
               determine on the merits that the named plaintiffs were
               employees.

                      We made clear in City Select that “[a]ffidavits, in
               combination with records or other reliable and administratively
               feasible means, can meet the ascertainability standard.” 867
               F.3d at 441. There we held the class of car dealerships was
               ascertainable even though the database did not list which
               dealerships received unsolicited faxes because the database in
               combination with the potential class members’ affidavits
               would allow the class to be defined. Id. at 441–42. So too
               here.

                       To be sure, the records Appellants rely on are
               incomplete. The District Court held that it could not rely on
               those records to determine which drivers drove full-time. But
               it failed to explain why, in light of our precedents, the records
               as a whole, together with the affidavits, did not provide a
               reliable and feasible mechanism to ascertain class members at
               the certification stage. Appellants do not have to prove at this
               stage that each proposed class member was indeed a full-time
               driver, but only that the members can be identified. See City
               Select, 867 F.3d at 439; Byrd, 784 F.3d at 163. Appellants have
               done exactly that by presenting large samples of Sleepy’s
               driver rosters, gate logs, and pay statements. And the gaps in
               the record do not undermine the conclusion that all the
               evidence taken together could at the merits stage be used to




                                              28
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 29    DatePage
                                                10/14/20   Filed:31
                                                                  10/14/2020
                                                                    of 43 PageID: 11637




               determine who the full-time drivers were. See Carrow, 2019
               WL 7184548, at *6 (holding plaintiffs could show which
               drivers worked full-time even though they “cannot account for
               what each driver was doing during every minute of every day
               throughout the class period”). Sleepy’s relies on Carrera to
               argue that Appellants failed to obtain enough documents, but
               there the defendant had no records of who purchased the drug
               and the plaintiffs failed to seek any records from third parties
               or even to show that those records existed. See 727 F.3d at
               308–09. To repeat, Appellants here obtained thousands of
               pages of documents.

                       Many of Sleepy’s factual arguments also do not hold up.
               For example, it claims that the Outside Carrier Expense Detail
               reports and pay statements are not useful because they do not
               list the name of the person driving the truck. But the pay
               statements list the driver identification listed in the driver roster
               (tied to a known individual) and list what days a driver had a
               truck on the road, how many deliveries that truck made, what
               the driver was paid, and what deductions were made from the
               drivers’ pay by Sleepy’s and why. Sleepy’s also contends that
               the gate logs do not show who actually drove the truck, but
               drivers were required to show their Sleepy’s identification
               badge at a security gate when they arrived at its warehouse and
               when they left to make their deliveries after the truck was
               loaded, plus the identity of the driver was listed under the
               heading “Driver Name.” J.A. 880. Perhaps most audaciously,
               Sleepy’s suggests that its own driver rosters should be
               disregarded because it is unclear that they are accurate.
               However, the rosters list the identification numbers assigned to
               each driver and that same identification appears on each pay
               statement. And the former dispatch supervisor for Sleepy’s
               testified that it used Excel worksheets to list the people who




                                                29
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 30    DatePage
                                                10/14/20   Filed:32
                                                                  10/14/2020
                                                                    of 43 PageID: 11638




               were approved to drive the trucks and whether they were
               drivers or helpers. She made clear that drivers not approved to
               make the delivery run would “lose their run” and that only
               approved drivers appeared on the roster. J.A. 889.

                      Sleepy’s argues as well that which drivers were paid
               overtime is not ascertainable because it is possible that the
               corporate entities separately paid their individual drivers
               overtime and thus complied with New Jersey law. But the
               deductions they were subject to were discernible from Sleepy’s
               Outside Carrier Expense Detail reports, which show what
               deductions were made from which trucks. And the exact
               damages owed each driver is not an ascertainability issue. See
               Vaquero v. Ashley Furniture Indus., Inc., 824 F.3d 1150, 1155
               (9th Cir. 2016) (holding that “the need for individual damages
               calculations does not, alone, defeat class certification”).

                       Sleepy’s also points us to evidence that certain
               individual drivers did not work full time. For example, Brian
               Martin signed an IDA but he was not a full-time driver for
               Sleepy’s, as his business did not deliver exclusively for it and
               he rarely drove his own truck. Sleepy’s notes that the gate logs
               Appellants rely on show that Martin was at the Robbinsville
               facility briefly on certain days, but fail to reflect whether he
               came to the facility multiple times or made any other deliveries
               for other customers that day. This misses the point. Martin is
               no longer part of the proposed class. Appellants concede that
               not all drivers were full-time drivers for Sleepy’s. They have
               attempted to narrow their class definition to exclude
               individuals whose record is as incomplete as Martin’s.
               Moreover, even if Martin were still included in the proposed
               class, it would have been an issue of overbreadth, not
               ascertainability, in that some drivers who were not full-time




                                             30
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 31    DatePage
                                                10/14/20   Filed:33
                                                                  10/14/2020
                                                                    of 43 PageID: 11639




               drivers would have been included in the proposed class. As we
               held in Byrd, a class can still be ascertainable even if it may be
               slightly overbroad. 784 F.3d at 168–69. And it is not clear that
               there is an overbreadth issue with the new proposed class of
               111 drivers.

                      Thus we reverse the District Court’s holding with
               respect to ascertainability. The class members are identifiable
               through objective criteria—they are listed in Sleepy’s
               contracts, driver rosters, gate logs, pay statements, and other
               data. Many of the putative class members have been deposed.
               The District Court improperly focused on perceived gaps in the
               evidence—gaps that were plausibly created by Sleepy’s own
               record keeping.8

                      8
                         To be clear, before us is only the May 2019 order
               denying certification of the class of 111 individuals who
               performed deliveries on a full-time basis and who drove one
               truck for Sleepy’s. Although the Court incorporated by
               reference portions of its February 2018 order denying
               certification of the class of 193, the denial of that certification
               motion is not before us. So Appellants may move forward with
               their proposed class of 111.

                       Additionally, although ascertainability does not stand as
               a bar to class certification, we express no opinion on whether
               the other requirements for certification under Rule 23 are
               satisfied. The District Court did not consider the issue, and we
               decline to do so in the first instance.

                      On remand, if the parties further litigate the other
               requirements of Rule 23 or if they reach the merits, the District
               Court is of course free to reopen discovery to address gaps in




                                               31
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 32    DatePage
                                                10/14/20   Filed:34
                                                                  10/14/2020
                                                                    of 43 PageID: 11640




                             3. Employers’ Failure to Keep Records as a
                             Roadblock to Class Certification

                       That the District Court focused on the gaps in the record
               is especially troubling given that Appellants are only able to
               rely on the records that Sleepy’s kept and produced. We
               reverse and remand based on the District Court’s
               misapplication of our ascertainability precedent, but we also
               clarify that where an employer’s lack of records makes it more
               difficult to ascertain members of an otherwise objectively
               verifiable class, the employees who make up that class will not
               be made to bear the cost of the employer’s faulty record
               keeping.

                      To hold otherwise would be in tension with the Supreme
               Court’s decisions in Mt. Clemens, 328 U.S. 680, and Tyson
               Foods, 136 S. Ct. 1036, which held that employees’ wage
               claims should not suffer simply due to an employer’s failure to
               maintain employee pay records that it is required to keep by
               law. In Tyson Foods, the Supreme Court explained that the
               “‘remedial nature of [the FLSA] and the great public policy
               which it embodies . . . militate against making’ the burden of
               proving uncompensated work ‘an impossible hurdle for the
               employee.’” 136 S. Ct. at 1047 (alterations in original)
               (quoting Mt. Clemens, 328 U.S. at 687). Employees can meet
               their burdens of proof by “produc[ing] sufficient evidence to


               the record, especially given that Sleepy’s may have more
               documents that cover a wider timespan. And Sleepy’s will in
               any event at the merits stage be able to present evidence as to
               any of the 111 drivers to show that he or she was not in fact a
               full-time driver. But these are questions for a later stage in this
               litigation, and they do not affect our ascertainability ruling.




                                               32
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 33    DatePage
                                                10/14/20   Filed:35
                                                                  10/14/2020
                                                                    of 43 PageID: 11641




               show the amount and extent of that work as a matter of just and
               reasonable inference.” Mt. Clemens, 328 U.S. at 687. Those
               inferences are often necessary “to fill an evidentiary gap
               created by the employer’s failure to keep adequate records.”
               Tyson Foods, 136 S. Ct. at 1047.

                       We extend the holdings of Tyson Foods and Mt.
               Clemens to the ascertainability determination at the class-
               certification stage and hold that where an employer has failed
               to keep records it was required to keep by law, employees can
               prove ascertainability (it remains their burden) by producing
               “sufficient evidence” to define their proposed class as “a matter
               of just and reasonable inference.” Mt. Clemens, 328 U.S. at
               687; Tyson Foods, 136 S. Ct. at 1046–47 (holding that
               plaintiffs may use representative samples to establish “the
               employees’ hours worked in a class action”).

                      For purposes of our case, the New Jersey Wage and
               Hour Law provides that “[a]ll the time the employee is required
               to be at his or her place of work or on duty shall be counted as
               hours worked.” N.J. Admin. Code § 12:56-5.2(a). An
               employer is required to keep accurate records showing the
               names of its employees, days and hours worked, and other
               information. N.J. Stat. Ann. § 34:11-56a20; N.J. Admin. Code
               § 12:56-4.1. Sleepy’s thus had an obligation to keep clear
               employment records. It apparently failed to do so for the
               members of the proposed class.

                      Sleepy’s argues that it acted in good faith when it failed
               to keep complete records for the proposed class members
               because it believed they were independent contractors and not
               employees. If we accept this argument and allow Appellants’
               class action to be thwarted by Sleepy’s lack of records, we




                                              33
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 34    DatePage
                                                10/14/20   Filed:36
                                                                  10/14/2020
                                                                    of 43 PageID: 11642




               would be creating an incentive for employers not to keep
               records and thus avoid potential lawsuits. We thus would be
               crafting a vast loophole to class certification; employers could
               simply argue that they believed the potential class members
               were not employees. This would lead to paradoxical outcomes.
               Cf. Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 540 (6th
               Cir. 2012) (“[C]lass action litigation grows out of systemic
               failures of administration, policy application, or records
               management that result in small monetary losses to large
               numbers of people. To allow that same systemic failure to
               defeat class certification would undermine the very purpose of
               class action remedies.”).

                       It cannot be the case that Mt. Clemens and Tyson Foods
               do not apply anytime an employer argues workers in good faith
               were not treated as employees but as independent contractors.
               If this were so, no court would be able to use those precedents
               to determine damages where a defendant misclassified its
               workers as independent contractors or otherwise misclassified
               employees. We simply follow the path of the Supreme Court
               that in cases such as this one, where employment records are
               lacking, the employer and not the employee will bear the cost
               of such deficiencies, whether they be intentional or good-faith
               misclassifications. While this does not mean plaintiffs can
               avoid the ascertainability requirement, it does allow just and
               reasonable inferences to fill in the gaps in a defendant’s faulty
               record keeping.

                                *      *      *       *      *

                      Accordingly, we reverse the judgment of the District
               Court and remand this case for further proceedings in accord
               with this opinion.




                                              34
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 35    DatePage
                                                10/14/20   Filed:37
                                                                  10/14/2020
                                                                    of 43 PageID: 11643




               HARDIMAN, Circuit Judge, dissenting.

                       “In our adversarial system of adjudication, we follow
               the principle of party presentation.” United States v. Sineneng-
               Smith, 140 S. Ct. 1575, 1579 (2020). This assumes that “parties
               represented by competent counsel know what is best for them,
               and are responsible for advancing the . . . argument entitling
               them to relief.” Id. (quoting Castro v. United States, 540 U.S.
               375, 386 (2003) (Scalia, J., concurring in part and concurring
               in the judgment)) (quotation marks and alteration omitted). So
               “courts normally decide only questions presented by the
               parties.” Id. (quotation marks, citation, and alteration omitted).
               Because the Majority neglects this principle to reach an issue
               Appellants failed to raise properly, I respectfully dissent.

                      Appellants filed a renewed motion for class certification
               that the District Court construed as a motion for
               reconsideration. The Court reasoned:

                      Plaintiffs must meet a higher standard than
                      before—they must show that either there has
                      been a change in the controlling case law[] (they
                      have not); new evidence is available that was not
                      available when the Court denied the motion (they
                      have not); or the need to correct a clear error of
                      law or fact or to prevent manifest injustice (they
                      have not).

               Hargrove v. Sleepy’s LLC, 2019 WL 8881823, at *7 (D.N.J.
               2019). Appellants failed to present the issue of whether the
               District Court erred in applying this standard. Nevertheless, my
               colleagues conclude the District Court erred in “treat[ing] the
               renewed motion for class certification as a motion for
               reconsideration.” Maj. Op. 4–5. They do so apparently based




                                               1
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 36    DatePage
                                                10/14/20   Filed:38
                                                                  10/14/2020
                                                                    of 43 PageID: 11644




               on a footnote in the procedural history section of Appellants’
               brief. See Hargrove Br. 11 n.12. But we have held that is
               insufficient to raise an issue or argument. See, e.g., Prometheus
               Radio Project v. FCC, 824 F.3d 33, 53 (3d Cir. 2016)
               (arguments and issues “relegated to a footnote” are forfeited)
               (citing United States v. Pelullo, 399 F.3d 197, 222 (3d Cir.
               2005) (“It is well settled that an appellant’s failure to identify
               or argue an issue in his opening brief constitutes waiver of that
               issue on appeal.”), and John Wyeth & Bro. v. CIGNA Int’l
               Corp., 119 F.3d 1070, 1076 n.6 (3d Cir. 1997) (“[A]rguments
               raised in passing (such as, in a footnote), but not squarely
               argued, are considered waived.”)). Moreover, Rule 28(a) of the
               Federal Rules of Appellate Procedure and Rule 28.1(a) of the
               Third Circuit Local Appellate Rules require appellants “to set
               forth the issues raised on appeal and to present an argument in
               support of those issues in their opening brief.” Kost v.
               Kozakiewicz, 1 F.3d 176, 182 (3d Cir. 1993).

                       The Majority contends Appellants did more than raise
               this issue in a footnote because they “elaborated in detail in
               their Reply.” Maj. Op. 17 n.5. That’s not enough. Appellants
               must present and argue each issue “in their opening brief.”
               Kost, 1 F.3d at 182 (emphasis added). We have never (until
               now, apparently) established an exception to this rule where
               the appellee addresses the issue and the appellant subsequently
               “elaborate[s]” in the reply brief, or where the parties are not
               “surprised” because the district court “expressly discussed and
               ruled on the . . . issue.” Maj. Op. 17 n.5. And for good reason.
               Such an exception will destabilize our forfeiture jurisprudence
               and undermine our clear and easily administrable rule. It will
               also invite mischief by permitting appellants to raise issues and
               arguments summarily in an opening brief, thus forcing
               appellees to guess at the questions presented and appellant’s




                                               2
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 37    DatePage
                                                10/14/20   Filed:39
                                                                  10/14/2020
                                                                    of 43 PageID: 11645




               specific arguments, before presenting their full argument in a
               reply brief. This impairs our deliberative process.

                      The Majority cites several cases it believes support its
               decision to reach this issue. Id. None of them do. It cites Lark
               v. Secretary Pennsylvania Department of Corrections, 645
               F.3d 596, 607 (3d Cir. 2011), and Bagot v. Ashcroft, 398 F.3d
               252, 256 (3d Cir. 2005), which discuss notice in the district
               court and our discretion to address issues waived below but
               raised properly on appeal. Neither case supports the Majority’s
               decision because here we deal only with an issue not raised
               properly on appeal. Next, my colleagues cite In re: Asbestos
               Products Liability Litigation (No. VI), 873 F.3d 232, 237 (3d
               Cir. 2017), for their position that we should excuse forfeiture
               when, despite an appellant’s failure to raise an issue properly
               in accordance with our well-settled precedent and the Federal
               and Local Rules of Appellate Procedure, the parties
               nevertheless have fair notice of the claim. In Asbestos, as in
               this appeal, appellants tried to preserve an issue in a footnote
               while committing their entire opening brief to other issues. We
               held that an “attempt to shoehorn in an argument” in a footnote
               is “insufficient to raise an issue on appeal,” and that “[a]s a
               general matter, an appellant waives an argument in support of
               reversal if it is not raised in the opening brief.” Id. We should
               apply the same rule here.

                      Consistent with our longstanding precedent, I would
               affirm the District Court and hold that Appellants failed to
               present and argue the issue of whether the Court erred in




                                              3
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 38    DatePage
                                                10/14/20   Filed:40
                                                                  10/14/2020
                                                                    of 43 PageID: 11646




               denying their renewed motion for class certification under the
               motion-for-reconsideration standard.1

                      I also disagree with the Majority’s conclusion on the
               merits. On the record before it, I cannot say the District Court
               abused its discretion in holding Appellants failed to establish
               ascertainability.

                       Appellants failed to show that the class was currently
               and readily ascertainable. See Marcus v. BMW of N. Am. LLC,
               687 F.3d 583, 593 (3d Cir. 2012). They consistently presented
               a confused and incomplete method for ascertaining class
               members, which led the Court to its holding on ascertainability.
               The District Court did not reach this conclusion for lack of
               trying. It considered substantial briefing, heard argument, and
               allowed the parties to depose Appellants’ key witness when
               their methodology remained unclear. Despite these



                      1
                          Setting aside Appellants’ forfeiture, I disagree with my
               colleagues’ broad holding that a district court can never apply
               the motion-for-reconsideration standard to a renewed motion
               for class certification. See Maj. Op. 5 (“Courts cannot
               graft . . . the heightened motion-for-reconsideration standard
               [onto renewed motions for class certification].”). District
               courts have “ample discretion to consider (or to decline to
               consider) a revised class certification motion after an initial
               denial.” In re: Tropicana Orange Juice Mktg. & Sales
               Practices Litig., 2018 WL 6819331, at *2 (D.N.J. 2018)
               (quoting In re Initial Pub. Offering Sec. Litig., 483 F.3d 70, 73
               (2d Cir. 2007)). Because district courts may decline to consider
               such motions at all, it stands to reason that they retain
               discretion to apply the reconsideration standard.




                                               4
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 39    DatePage
                                                10/14/20   Filed:41
                                                                  10/14/2020
                                                                    of 43 PageID: 11647




               opportunities, Appellants failed to establish ascertainability by
               a preponderance of the evidence.

                       As just one example of Appellants’ shortcomings,
               consider the gate logs presented (and not presented) at the class
               certification stage. Appellants have consistently said Sleepy’s
               gate logs are a key component of their ascertainability
               methodology. See, e.g., App. 1412 (Appellants’ witness
               testified that the only way she could show a particular driver
               drove on a particular day was by cross-referencing an Outside
               Carrier Expense Detail report with the gate log). But even after
               discovery, Appellants failed to obtain gate logs for the full
               class period. And the logs they presented (from a few months
               in 2008 and 2009) were missing data. For that reason, the
               District Court questioned the reliability of those documents in
               Appellants’ ascertainability analysis. And Appellants are to
               blame for this evidentiary defect because Sleepy’s offered to
               provide all its gate logs but Appellants claimed it was “not
               [Appellants’] burden to review all of the gate logs . . . prior to
               class certification.” Reply Brief in Support of Plaintiffs’
               Renewed Motion for Class Certification, Case No. 3:10-cv-
               01138, ECF No. 225, 11 n.15. So the District Court
               unsurprisingly concluded Appellants failed to meet their
               burden for ascertainability given their willful ignorance of the
               existence and substance of a central category of evidence.

                      Finally, in reversing the District Court’s ascertainability
               determination, the Majority extends the holdings of Anderson
               v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946), and Tyson
               Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036 (2016). Maj. Op.
               6 (“[W]here an employer has failed to keep records it was
               required to keep by law, employees can prove ascertainability
               by producing ‘sufficient evidence’ to define their proposed
               class as ‘a matter of just and reasonable inference.’”) (quoting




                                               5
          Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG        77-2
                           Document  268 Page:
                                          Filed 40    DatePage
                                                10/14/20   Filed:42
                                                                  10/14/2020
                                                                    of 43 PageID: 11648




               Mt. Clemens, 328 U.S. at 687, and Tyson Foods, 136 S. Ct. at
               1046–47). I would not apply those precedents to this case
               because there was never any doubt that the plaintiffs in Mt.
               Clemens and Tyson Foods were employees. Here, the company
               in good faith believed the drivers were independent
               contractors. The District Court agreed with that classification,
               and only after the New Jersey Supreme Court held otherwise
               did they learn that the drivers were employees. See Hargrove
               v. Sleepy’s LLC, 2016 WL 8258865, at *1 (D.N.J. 2016); see
               also Hargrove v. Sleepy’s LLC, Case Nos. 12-2540 & 12-2541,
               Petition for Certification of Question of Law (“We believe that
               this case raises an important issue of New Jersey law that is
               both determinative and novel.”).

                      For the reasons stated, I would affirm the order of the
               District Court and respectfully dissent.




                                              6
           Case: 19-2809 Document:
Case 3:10-cv-01138-PGS-LHG Document77-3
                                     268 Page: 1    Date Page
                                         Filed 10/14/20  Filed: 43
                                                                10/14/2020
                                                                   of 43 PageID: 11649



                                               OFFICE OF THE CLERK

   PATRICIA S. DODSZUWEIT            UNITED STATES COURT OF APPEALS                     TELEPHONE
                                          21400 UNITED STATES COURTHOUSE               215-597-2995
             CLERK                               601 MARKET STREET
                                             PHILADELPHIA, PA 19106-1790
                                         Website: www.ca3.uscourts.gov

                                               October 14, 2020




   Mr. William T. Walsh
   United States District Court for the District of New Jersey
   Clarkson S. Fisher Federal Building and United States Courthouse
   402 East State Street
   Trenton, NJ 08608


   RE: Sam Hargrove, et al v. Sleepys LLC
   Case Number: 19-2809
   District Court Case Number: 3-10-cv-01138

   Dear Mr. Walsh:


   Enclosed herewith is the certified judgment together with copy of the opinion in the above-
   captioned case(s). The certified judgment is issued in lieu of a formal mandate and is to be
   treated in all respects as a mandate.

   Counsel are advised of the issuance of the mandate by copy of this letter. The certified judgment
   is also enclosed showing costs taxed, if any.

   Very truly yours,


   s/Patricia S. Dodszuweit,
   Clerk


   By: Stephanie
   Case Manager
   267-299-4926

   cc: All Counsel of Record
